Case 5:20-cv-05023-LLP Document 120 Filed 11/23/21 Page 1 of 1 PageID #: 1577




                            UNITED STATES DISTRICT COURT


                               DISTRICT OF SOUTH DAKOTA


                                     WESTERN DIVISION


 MATT NASUTI,                                                       5:20-CV-5023-LLP


                       Plaintiff,
        vs.                                                           JUDGMENT


 WALMART,INC.,

                       Defendant.




       In accordance with the Memorandum Opinion issued on this date granting Defendant's
motion for summary judgment,

       IT IS ORDERED, ADJUDGED and DECREED that Judgment is entered in favor of
Defendant, Walmart, Inc., and against Plaintiff, Matt Nasuti.

       Dated this
               is        day of November,2021.

                                             BY THE COURT:




                                           M
                                           vi^ -wrence L. Piersol
                                             United States District Judge
ATTEST:
MATTHEW W. THELEl
